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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

BARRY KORCSMAROS,

       Plaintiff,

v.                                                               Case No: 8:16-cv-765-T-36AAS

FINANCIAL ASSET MANAGEMENT
SYSTEMS, INC.,

      Defendant.
___________________________________/

                                            ORDER

       This matter is before the Court upon review of the file. Pursuant to a notice of settlement,

on September 27, 2016, the Court entered an Order dismissing this action without prejudice and

providing the parties an opportunity to submit a stipulation or final judgment for dismissal with

prejudice (Doc. 21). To date, the parties have not submitted a stipulation or final judgment.

Therefore, this matter will be dismissed with prejudice.

       ACCORDINGLY, it is now ORDERED AND ADJUDGED:

       1.      This action is dismissed, with prejudice.

       2.      The Clerk is directed to close this case.

       DONE AND ORDERED in Tampa, Florida on November 29, 2016.




COPIES TO:
Counsel of Record and Unrepresented Parties, if any
